                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           BRYSON CITY DIVISION
                                  2:06 CR 12


UNITED STATES OF AMERICA,                         )
                                                  )
Vs.                                               )             ORDER
                                                  )
MICHAEL DAVID MEADOWS,                            )
                                                  )
                  Defendant.                      )
________________________________________          )


        THIS CAUSE coming on to be heard and being heard upon a motion filed by the

defendant on July 26, 2006 entitled, “Motion for Bond” and it appearing to the court at the

call of this matter on for hearing that the Government was present through Assistant United

States Attorney, Don Gast and that the defendant was present and represented by his attorney,

Ronald True and from the evidence offered and the records in this cause and the arguments

of the Assistant United States Attorney and the attorney for the defendant, the court makes

the following findings:

        Findings.    On April 26, 2006 the defendant was charged in a bill of indictment with

conspiracy to manufacture and distribute methamphetamine and four counts of possessing

a firearm in furtherance of a drug trafficking crime. On May 16, 2006 the undersigned

entered an order detaining the defendant. This order allowed the defendant to file a motion

requesting that the undersigned reconsider the issue of the defendant’s detention based upon

a change of circumstances, that being completion of the Jail Based Inpatient Treatment

Program. The undersigned further entered the follows: “However, the undersigned notes that

the defendant has a previous felony conviction for possession of a schedule II controlled
      Case 2:06-cr-00012-MR-WCM            Document 103         Filed 08/14/06      Page 1 of 4
substance. He further has pending charges relating to his use of this substance. As a result,

substantial evidence would have to be shown by the defendant to defeat the presumption that

the detention of the defendant is warranted”. At the hearing of this matter the Government

introduced into evidence the Pretrial Services Report that had been prepared by the United

States Probation Office. There has also been filed and the court considered a Memorandum

filed on July 28 th by the United States Probation Office which advised that the defendant had

completed the Jail Based Inpatient Treatment Program, but which recommended that the

defendant remain in custody based upon the following factors:

       1)     Lengthy criminal record, including pending state charges;

       2)     Substance abuse history;

       3)     Appears that the defendant was on state probation when the current offense

was alleged to have occurred.

       The defendant presented evidence by testimony from his mother, Gladys Meadows.

Ms. Meadows is 78 years old and is confined to a wheelchair. Ms. Meadows testified that

she would be available to act as a custodian to insure that if the defendant were released on

terms and conditions of pretrial release that she would see that the defendant did comply with

those conditions. Although frail physically, the court finds that Ms. Meadows was fully in

control of all of her mental facilities. Ms. Meadows further testified that the defendant had

never previously lied to her and that it was her opinion that she could act as a custodian for

the defendant. Ms. Meadows is currently cared for by the defendant’s son, Brandon who is

age 24. Brandon Meadows provides total and complete care for Ms. Meadows. On August



                                            2
    Case 2:06-cr-00012-MR-WCM            Document 103        Filed 08/14/06     Page 2 of 4
4, 2006 the defendant entered a plea of guilty to the charge of conspiracy to manufacture and

distribute methamphetamine and to one count of having a firearm during and in relation to

a drug trafficking offense.

       Discussion. The undersigned has reconsidered the issue of the detention of the

defendant. Incorporated herein are the findings as set forth by the court in the order dated

May 16, 2006. Of substantial concern to this court is the fact that the defendant has, previous

to his plea of August 4, 2006, three felony convictions involving the use of controlled

substances. The defendant was convicted of two counts of delivery of marijuana on January

25, 1985. Each one of those convictions was a felony. The defendant was convicted on

August 29, 2005 of felony possession of a scheduled II controlled substance. The factual

circumstances that led to this charge occurred on May 30, 2004. The defendant was

apparently released on bond at that time. The allegations contained in the bill of indictment

show that the defendant was involved in the conspiracy during the period from November

1, 2003 through March 31, 2006 and that he possessed a firearm during and in relation to this

offense between May 1, 2005 and July 31, 2005. As a result, it appears that the defendant

had been released on bond on a felony charge in 2004 and while released on bond the

defendant committed the offense of being in possession of a firearm during and in relation

to a drug trafficking offense. These undisputed facts give the undersigned great concern in

releasing the defendant. It is the belief of the undersigned that the release of the defendant

would create a danger to any other person or the community. The defendant’s mother, who

is a fine person, is not in a physical condition whereby she could act as a custodian for the



                                             3
    Case 2:06-cr-00012-MR-WCM              Document 103        Filed 08/14/06       Page 3 of 4
defendant and to impose upon the defendant’s 24 year old son to act as a custodian at a time

when he is providing complete and total care to the defendant’s invalid mother would be just

too much of a burden to place on the defendant’s son. The undersigned has further given

weight to the recommendation of the United States Probation Office and the risk factors that

were set forth in the memorandum of the United States Probation Office. As a result, the

undersigned has determined to enter an ORDER DENYING the defendant’s motion and

further ordering that the defendant be detained pending sentencing and further proceedings

in this matter.

                                             Signed: August 14, 2006




                                           4
    Case 2:06-cr-00012-MR-WCM          Document 103      Filed 08/14/06     Page 4 of 4
